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                       EXHIBIT 27
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                              EXHIBIT 27 TO
            DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES
                 SETTLEMENT AGREEMENT DATED APRIL 18, 2012

                                                 and

                           EXHIBIT 19 TO
        DEEPWATER HORIZON MEDICAL BENEFITS CLASS SETTLEMENT
                   AGREEMENT DATED APRIL 18, 2012


       1.      Interim Class Counsel under the Economic Agreement and the Medical

Settlement Agreement and BP’s Counsel commenced negotiations on common benefit and/or

Rule 23(h) attorneys’ fees and costs on April 17, 2012, only after such Interim Class Counsel and

BP’s Counsel reached agreement on all of the material terms of the Economic Agreement and

the Medical Settlement Agreement and delivered that information to the Court.

       2.      Subject to the provisions, conditions, and understandings set forth below, the BP

Parties agree not to contest a joint request by Economic Class Counsel and Medical Benefits

Class Counsel (collectively, the “Class Counsel”) for, nor oppose an award by the Court for, a

maximum award of $600,000,000 (Six hundred million US Dollars), as a payment of all

common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses incurred at any time,

whether before or after the date hereof, for the common benefit of members of the Economic

Class and the Medical Class. If the Court awards less than the amount set out in this paragraph

2, the BP Parties shall be liable only for the lesser amount awarded by the Court. In no event

shall the BP Parties be liable for any amount of common benefit and/or Rule 23(h) attorneys’

fees, costs and/or expenses in excess of the amount agreed upon in this paragraph 2. The

common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses awarded by the Court,

subject to the limitations in the preceding sentence, shall be collectively referred to as the

“Common Benefit Fee and Costs Award.”




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       3.      The Common Benefit Fee and Costs Award shall cover any and all common

benefit and/or Rule 23(h) attorneys’ fees, costs and expenses that may be claimed against BP or

any of the Released Parties by or on behalf of the Economic Class or the Medical Class, or any

member thereof, or their current or former counsel, including attorneys’ fees and costs pursuant

to Fed. R. Civ. P. 23(h), Pretrial Order No. 9, and the Court’s Order and Reasons As To The

Motion To Establish Account And Reserve For Litigation Expenses, Rec. Doc. 5022, and

amendments thereto, including Rec. Doc. 5064 and 5274 (collectively, the “Holdback Order”).

       4.      The BP Parties shall make payments into the qualified settlement fund to be

established pursuant to Section 5.16 of the Economic Agreement and Section XXII.S of the

Medical Settlement Agreement (the “Common Benefit Fee and Costs Fund”) as follows:

               a. The BP Parties shall make a non-refundable payment of $75 million (Seventy-

                  five million US Dollars) (the “Initial Payment”) into the Common Benefit Fee

                  and Costs Fund on the first date on which all of the following have occurred:

                  (i) 30 days have elapsed after the Court has granted preliminary approval of

                  the Economic Agreement, and (ii) the Court has entered an Order modifying

                  the Holdback Order to provide that it shall not apply to any Settlement

                  Payments or Other Economic Benefits paid pursuant to the Economic

                  Agreement or any Medical Settlement Payments or Other Medical Benefits

                  pursuant to the Medical Settlement Agreement. Subject to the conditions in

                  the preceding sentence, the Initial Payment from the Common Benefit Fee and

                  Costs Fund shall be paid to Class Counsel pursuant to an order of the Court.

               b. From and after the date of the Initial Payment, through the earlier of the

                  Effective Date under the Economic Agreement or the termination of the




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            Economic Agreement, within 15 days after the end of each calendar quarter,

            the BP Parties shall irrevocably pay into the Common Benefit Fee and Costs

            Fund an amount equal to 6 % (six percent) of (i) the aggregate Settlement

            Payments paid under the Economic Agreement in respect of Claimants that

            have executed an Individual Release (or in the case of payments pursuant to

            the Transition Process, to Economic Class Members that execute a full

            release), together with (ii) the amount of Other Economic Benefits paid, in

            each case under the Economic Agreement during such calendar quarter (or, in

            the case of the first such payment, during the period from April 18, 2012 to

            the end of such calendar quarter, or during the period from and after February

            26, 2012 pursuant to the Transition Process).

         c. From and after the date of the Initial Payment, through the earlier of the

            Effective Date under the Medical Settlement Agreement or the termination of

            the Medical Settlement Agreement, within 15 days after the end of each

            calendar quarter, the BP Parties shall irrevocably pay into the Common

            Benefit Fee and Costs Fund an amount equal to 6 % (six percent) of the

            aggregate Other Medical Benefits paid under the Medical Settlement

            Agreement during such calendar quarter (or, in the case of the first such

            payment, during the period from April 18, 2012 to the end of such calendar

            quarter). If the Effective Date under the Medical Settlement Agreement

            occurs, the BP Parties shall irrevocably pay into the Common Benefit Fee and

            Costs Fund an amount equal to 6% (six percent) of the aggregate Medical




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            Settlement Payments paid under the Medical Settlement Agreement as and

            when such Medical Settlement Payments are made.

         d. Notwithstanding anything to the contrary herein, (i) the BP Parties shall be

            entitled to credit the Initial Payment against the first $75 million of payments

            required under paragraphs 4b and 4c, and (ii) in no event shall the total

            amounts paid into the Common Benefit Fee and Costs Fund (including the

            Initial Payment and any additional amounts paid pursuant to paragraphs 4b

            and 4c) exceed $480,000,000 (Four hundred eighty million US Dollars) in the

            aggregate, unless and until the Effective Date under the Economic Agreement

            occurs (except as expressly set forth in paragraph 4g below with respect to

            certain Settlement Payments made from and after the termination of the

            Economic Agreement).

         e. If the Effective Date under the Economic Agreement occurs, the BP Parties

            will irrevocably pay the remaining balance of the Common Benefit Fee and

            Costs Award into the Common Benefit Fee and Costs Fund on the first date

            (the “Final Fee and Costs Payment Date”) on which both of the following

            have occurred: (i) 30 days have elapsed after the Effective Date under the

            Economic Agreement, and (ii) the Court has entered an order approving the

            Common Benefit Fee and Costs Award.

         f. If the Medical Settlement Agreement is terminated prior to the occurrence of

            the Effective Date under the Medical Settlement Agreement, the BP Parties

            shall not be required to make any further payments whatsoever pursuant to

            paragraph 4c into the Common Benefit Fee and Costs Fund.




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              g. If the Economic Agreement is terminated prior to the occurrence of the

                  Effective Date under the Economic Agreement, the BP Parties shall not be

                  required to make any further payments whatsoever into the Common Benefit

                  Fee and Costs Fund (other than payments pursuant to paragraph 4c in respect

                  of the Medical Settlement Agreement) from and after the date of termination;

                  provided that to the extent the BP Parties make Settlement Payments to

                  Economic Class Members that filed Claims prior to the termination of the

                  Economic Agreement, then within 15 days after the end of each calendar

                  quarter thereafter, the BP Parties shall pay into the Common Benefit Fee and

                  Costs Fund an amount equal to 6% (six percent) of the aggregate Settlement

                  Payments paid under the Economic Agreement during such calendar quarter

                  (less any payments made prior to the termination of the Economic

                  Agreement); and provided further that, notwithstanding anything to the

                  contrary herein in paragraph 4b or 4c or otherwise, in no event shall the total

                  amounts paid into the Common Benefit Fee and Costs Fund at any time

                  (including the Initial Payment, any additional amounts paid pursuant to

                  paragraphs 4b and 4c, and any amounts paid pursuant to this paragraph 4g)

                  exceed the amount of the Common Benefit Fee and Cost Award, in the

                  aggregate.

       5.     Prior to the Final Fee and Costs Payment Date, no amounts shall be paid by or out

of the Common Benefit Fee and Costs Fund, other than (i) the Initial Payment, or (ii) from and

after the occurrence of the Effective Date under the Medical Settlement Agreement, any

payments to the Common Benefit Fee and Costs Fund that are or were made under paragraph 4c




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above in respect of the Medical Settlement Agreement. If the Economic Agreement is

terminated prior to the occurrence of the Effective Date, Economic Class Counsel may petition

the Court for an order approving disbursement of amounts in the Common Benefit Fee and Cost

Fund (and the BP Parties will not oppose any such petition). To the extent the Court enters an

order approving disbursement of any or all amounts in the Common Benefit Fee and Cost Fund,

such amounts in the Common Benefit Fee and Cost fund shall be paid to Class Counsel pursuant

to the order of the Court. If Economic Class Counsel has not filed such a petition within 120

days after termination of the Economic Agreement, or if the Court denies such petition in whole

or in part, or if the Court grants an order for disbursement of less than all amounts in the

Common Benefit Fee and Cost Fund, then all remaining amounts in the Common Benefit Fee

and Cost Fund shall promptly be repaid to the BP Parties.

       6.      The BP Parties, the Plaintiffs under the Economic Agreement (on behalf of

themselves and the Economic Class Members), and the Medical Benefits Class Representatives

under the Medical Settlement Agreement (on behalf of themselves and the members of the

Medical Class) hereby stipulate and agree as follows:

               a. All payments into the Common Benefit Fee and Costs Fund are common

                   benefit and/or Rule 23(h) fees, costs and expenses within the meaning of

                   applicable law, including Fed. R. Civ. P. 23(h), Pretrial Order No. 9, and the

                   Holdback Order;

               b. Upon the full payment of the Common Benefit Fee and Costs Award, BP and

                   the Released Parties shall be immediately and fully discharged from any and

                   all further liability or obligation whatsoever with respect to any and all

                   common benefit and/or Rule 23(h) attorneys’ fees, costs and expenses




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            incurred by or on behalf of the Economic Class or the Medical Class, or any

            member thereof, in respect of, or relating in any way to, directly or indirectly,

            any and all Released Claims under the Economic Agreement, Released

            Claims under the Medical Settlement Agreement, the Action under the

            Economic Agreement, or the Medical Action.

         c. Other than (i) the payments by the BP Parties of the Common Benefit Fee and

            Cost Award into the Common Benefit Fee and Cost Fund, and (ii) payments

            by the Common Benefit Fee and Costs Fund to Class Counsel pursuant to any

            order of the Court, neither BP nor any of the Released Parties, nor the Claims

            Administrator, the Claims Administration Staff, nor the Common Benefit Fee

            and Costs Fund shall have any liability whatsoever in respect of or for any

            attorney’s fees, costs or expenses incurred by or on behalf of the Economic

            Class or the Medical Class, or any member thereof, or any of their current or

            former counsel in respect of the Released Claims under the Economic

            Agreement, the Released Claims under the Medical Settlement Agreement,

            the Action or the Medical Action, or by any other entity or person, including

            Halliburton or Transocean, in respect of any Released Claims or Assigned

            Claims under the Economic Agreement, Released Claims under the Medical

            Settlement Agreement or in any way relating to the Action or the Medical

            Action.

         d. The BP Parties and Class Counsel agree to request, and will not contest or

            oppose, that the order approving the Common Benefit Fee and Costs Award

            will include the language set forth in this paragraph 6.




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       7.      Neither BP nor any of the Released Parties shall have any responsibility,

obligation or liability of any kind whatsoever with respect to how the Common Benefit Fee and

Costs Award is allocated and distributed among any counsel for the Economic Class or the

Medical Class, or any member thereof, which allocation and distribution is the sole province of

Class Counsel to recommend, and the Court to decide.

       8.      The Claims Administrator and the Claims Administration Staff shall be directed

that, where a Claimant is represented by counsel, any Settlement Payment (a) shall be by check

made payable to both the Claimant and his, her or its designated counsel (“Designated

Counsel”), and (b) shall be made only after the receipt of a written acknowledgment by the

Claimant and the Designated Counsel that funds received fully and finally satisfy any and all

fees and costs in respect to representation of the Claimant by any counsel (including but not

limited to any asserted by lien or privilege) in connection with the Claim and rights of such

counsel to them.

       9.      “Economic Agreement” means the Deepwater Horizon Economic and Property

Damages Settlement Agreement Dated April 18, 2012. Capitalized terms used but not otherwise

defined herein have the meanings set forth in the Economic Agreement.

       10.     “Medical Action” means Plaisance, et al., individually and on behalf of the

putative Medical Benefits Settlement Class v. BP Exploration & Production Inc., et al.

       11.     “Medical Settlement Agreement” means the Deepwater Horizon Medical Benefits

Class Action Settlement Agreement dated April 18, 2012.

       12.     “Medical Settlement Payments” means payments of compensation for Specified

Physical Conditions (as defined in the Medical Settlement Agreement) and payments in respect




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of visits of the Periodic Medical Consultation Program (as defined in the Medical Settlement

Agreement).

       13.      “Other Economic Benefits” means payments under the Economic Agreement with

respect to the Gulf Tourism and Seafood Promotional Fund and the Supplemental Information

Program Fund.

       14.      “Other Medical Benefits” means payments under the Medical Settlement

Agreement for the Gulf Region Health Outreach Program (as defined in the Medical Settlement

Agreement).

       15.      “Other Settlement Benefits” means, collectively, Other Economic Benefits and

Other Medical Benefits.




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